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              IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

WALTER PETTAWAY, as Administrator )
of the Estate of Joseph Lee Pettaway, )
deceased,                             )
                                      )
     Plaintiff,                       )
                                      )
v.                                    )
                                      )         CASE NO. 2:19-cv-8-JTA
                                      )
CPL. NICHOLAS D. BARBER and           )
SGT. MICHAEL D. GREEN,                )
                                      )
     Defendants.                      )

                                    ORDER

      Pending before the court is Plaintiff’s Motion to File Under Seal (Doc. No.

110), wherein he asks the court to seal (1) a body-camera recording from Defendant

Nicholas Barber and (2) a written timeline of the contents of the recording. Upon

consideration of the motion, the court finds good cause to seal the recording.

Accordingly, it is hereby

      ORDERED as follows:

      1. The motion (Doc. No. 110) is GRANTED in part and DENIED in part.

         The motion is GRANTED as to the body-camera recording from

         Defendant Nicholas Barber. The plaintiff shall file the body-camera

         recording UNDER SEAL no later than October 5, 2020 at noon.

      2. The motion is DENIED as to the written timeline of the contents of the

         recording. The plaintiff may move to admit into evidence the timeline as
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   an exhibit during the videoconference hearing scheduled in this case for

   October 6, 2020.

3. The parties shall submit all written exhibits they intend to introduce at the

   hearing to the Courtroom Deputy no later than October 5, 2020 at noon.

   Any exhibits not submitted by that date will not be considered by the court

   at the hearing.

   DONE this 28th day of September, 2020.



                          /s/ Jerusha T. Adams
                          JERUSHA T. ADAMS
                          UNITED STATES MAGISTRATE JUDGE




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